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 7                               UNITED STATES DISTRICT COURT

 8                                    DISTRICT OF NEVADA

 9                                                )
     UNITED STATES OF AMERICA,                                              KJD-LRL
                                                  ) CASE NO: 02:10-CR-00562-PAL
                                                             2:10-CR-00417-KJD-LRL
10                                                )
                    Plaintiff,                    )
11                                                )                ORDER
            vs.
                                                  )
12                                                )
     JOSE MAX BRIDGES,
                                                  )
13                  Defendant.                    )
                                                  )
14                                                )
15

16                                                                 a contact
            IT IS HEREBY ORDERED that Dr. Mark Chambers be allowed contact    visit
                                                                           visits   with
                                                                                  with
17
                                                                           a timewhich
     Defendant Jose Max Bridges at the Nevada Southern Detention Center at times  whichareis
18
     mutually convenient.
19
                       29th day of _______________,
            DATED this ______       November        2010.
20

21

22
                                                ______________________________
23                                                   MAGISTRATE
                                                U.S. DISTRICT     JUDGE
                                                              COURT  JUDGE
24

25

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